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              Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 1 of 21 PageID #: 1
                       BER-L-002779-20 07/25/202111:19:47 PM Pg 1 of21 Trans ID: LCV20211739126


           RECEIVED
            AUG O6 202t              TO THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                         EASTERN DISTRICT OF MISSOURI
            BY MA\L                           FROM :Mensah:Cone.


              BRISTOL HOUSE CONDOM INITJM,               )             Civil Action
                                                         )
                      Plaintiff,                         )       Case No. _ _ _ _ _ _ _ _ __
                                                         )
                               v.                        )
                                                         )       . SUPERIOR COURT OF NEW JERSEY
              CONE MENSAH,                               )          LAWDMSION BERGEN COUNTY
                                                         )
                      Defendant.                         )            Trial Court Docket Number:
                                                         )                BER-L-002779-20
              BRISTOL HOUSE CONDOMINIUM                  )
              ASSOCIATION,                               )
                                                         )              NOTICE OF REMOVAL
                      Plaintiff,                         )             JURY TRIAL DEMANDED
                                                         )
                               v.                        )
                                                         )
              MENSAH CONE,                               )
                                                         )
                      Defendant.                         )
                                                         )
             MENSAH CONE,                                )
                                                         )
                      Counterclaimant,                   )
                                                         )
                               v.                        )
                                                         )
             BRISTOL HOUSE CONPOMINIUM                   )
             ASSOCIATION et ·al.,                        )
                                                         )
                      Counterclaim Defendants.           )
                                                         )
             MENSAH CONE,                                )
                                                         )
                     Third-party Plaintiff,              )
                                                         )
                               v.                        )
                                                         )
             EMILIO SANTIAGO, LLC , et al.,              )
                                                         )
                     Third-party Defendant(s).           )

                                                             1
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 Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 2 of 21 PageID #: 2
          BER-L-002779-20 07/25/202111:19:47 PM Pg 2 of21 Trans ID: LCV20211739126




                                           NOTICE OF REMOVAL

The undersigned affiant, being duly sworn, deposed and states:

      I, the living man, true and proper name style Mensah Cone, non-attorney, highest
accredited education from Ranken Technical College, MO graduate A.A.S. 1990, in
regards to the matter set forth regarding that name MENSAH CONE,
Defendant/Counterclaimant/Third-Party Plaintiff; Affiant is competent, of full age,
with personal knowledge, to state matter included in this Declaration, and has personal
knowledge of the facts and hereby declares that to the best of my knowledge, that the
statements made in this Affidavit are true, correct, and complete and not meant to
mislead and are made under full commercial liability.

The method and manner of retrieving all documents relative to this litigation is through
regular and certified mail and e-mail correspondence, Court filings, and documents
served on the Defendant/Counterclaimant/Third-Party Plaintiff hereinafter the
"Defendant".

All Court filings and Exhibits of correspondence from BUCKLEW FRIZZELL &
CREVINA, LLP hereinafter "BFC" or the "Debt Collector" are true copies of such
retrieved by the Defendant through e-mail from the sender Laurie Rollins
<lrollins@lawnj.com> and U.S. postage from BFC.

The CERTIFICAITON OF LAURIE A. ROLLINS ESQ. hereinafter "Rollins Cert.", dated
October 16, 2020 and the CERTIFICATION OF DIANE MONTENERO hereinafter
Montenero Cert., dated October 14, 2020 was filed with the Superior Court of New
Jersey and served on the Defendant.

The Defendant received the aforementioned certifications through certified mail from
BFC. The Montenero Cert., and annexed EXHIBIT A "Financial Transactions" report
hereinafter the "Report" is a true copy from that source. The Rollins Cert., and annexed
EXHIBIT A "Master Deed" and EXHIBIT B "By-Laws" collectively referred to in the
movant's papers as Master Deed and By-Laws of Bristol House Condominium
Association hereinafter "Condominium Association" or "Plaintiff'' is a true copy from
that source . The Rollins Cert. annexed EXHIBIT C "Notice of Delinquency" and
EXHIBIT D "BFC Invoices" are true copies from that source.

Exhibits of emails and correspondence from Katherine Henriquez via email and/ or
regular mail are true copies of emails and correspondence from Katherine Henriquez to
the Defendant. The Defendant obtained the email correspondence from the sender
Katherine Henriquez <khenriques@rcpmanagement.com> via email to email address
mensah_c@yahoo.com.



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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
 Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 3 of 21 PageID #: 3
          BER-L-002779-20 07/25/202111:19:47 PM Pg 3 of21 Trans ID: LCV20211739126




Correspondence and statements from RCP MANAGEMENT INC. and RCP Management
Inc. collectively hereinafter "RCP" are true copies from that source, RCP.
Correspondence and statements from HOMESTEAD MANAGEMENT SERVICES INC.
and Homestead Management Services, Inc. collectively hereinafter "HMS" via regular
mail are true copies from that source, HMS.

 All Court filings and Exhibits of correspondence from, without limitation, the Law
· Offices of Daniel Santiago attorney ID: 021212006, Emilio Santiago, LLC, Emilio
  Santiago attorney ID: 008191995 and agents are collectively hereinafter "Mr. Santiago",
  are true copies of such, retrieved by the Third-party Plaintiff from the sender Mr.
 Santiago through U.S. postage and from electronic Court filings, from those source(s).

All Court filings and Exhibits of correspondence from without limitation, HUESTON
MCNULTY, P.C., Samuel McNulty attorney ID: 031761989, agents of HUESTON
MCNULTY, P.C. and agents purported representatives of the Counterclaim Defendant(s)
hereinafter "Mr. McNulty" are true copies of such retrieved by the Counterclaimant
from the sender Mr. McNulty through U.S. postage and from electronic Court filings,
from those source(s).

All Court filings and Exhibits of correspondence from, without limitation, RIVKIN
RADLER, LLP, Michael Mule attorney ID: 001791996, Ana Parikh attorney ID:
050782014 and agents other representatives of Third-Party Defendant(s), Laurie
Newmark, Townsend, Tomaio & Newmark, LLC and agents of Townsend, Tomaio &
Newmark, LLC, and other representatives all the aforementioned hereinafter "TTN" or
"Townsend, Tomaio & Newmark, LLC" or the "Law Firm" are true copies of such
retrieved by the Third-party Plaintiff from the aforementioned sender through U.S.
postage and from Court filings, from those source(s).




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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 4 of 21 PageID #: 4
           BER-L-002779-20 07/25/202111:19:47PM Pg4of21 TransID:LCV20211739126




      In the case at bar, the Defendant respectfully withholds consent of magistrate judge

conducting this civil action or proceeding.

      Pursuant Article VI of the Constitution, the Defendant requires the sitting Judge(s)

having sworn an oath of office to support and or defend the United States Constitution;

      Mensah Cone1 regarding that name MENSAH CONE, Defendant / Counterclaimant /

Third-party Plaintiff hereby accepts that oath of office subject to removal of Superior

Court of New Jersey trial docket number BER-L-2779-20 to the U.S. District Court for

the Eastern District of Missouri pending assigned docket no.

      Article VI the Supremacy Clause, reads as follows:

          This Constitution, and the laws of the United States which shall be made in
          pursuance thereof; and all treaties made, or which shall be made, under the
          authority of the United States, shall be the supreme law of the land; and the
          judges in every state shall be bound thereby, anything in the Constitution or laws
          of any State to the contrary notwithstanding. [Emphasis added]

      28 U.S. Code§ 453 - Oaths of justices and judges, reads as follows:

          Each justice or judge of the United States shall take the following oath or
          affirmation before performing the duties of his office: "I, ____, do solemnly
          swear (or affirm) that I will administer justice without respect to persons, and do
          equal right to the ppor and to the rich, and that I will faithfully and impartially
          discharge and perform all the duties incumbent upon me as __ under the
          Constitution and laws of the United States. So help me God."

                                            BACKGROUND
1.    On or about May 12, 2020, contrary to distinguished Constitutional provisions

      (Fourteenth Amendment-Due. Process, Equal Protection of the Law), Acts - Fair

      Debt Collection Practices Act ("FDCPA"), and the laws of the United States (Title 18

      USC§ 242, Title 42 USC§ 1983) and State laws and Acts (N.J. Stat. § 46:8B, Due

      Process, Equal Protection of the Law); BFC, the Debt Collector commenced action


11
     Non-Fiduciary of MENSAH CONE

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Certified Mail # xxxx xxxx xxxx xxxx 2xx8
    Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 5 of 21 PageID #: 5
            BER-L-002779-20 07/25/202111:19:47 PM Pg 5 of21 Trans ID: I.:CV20211739126




      against defendant, Mensah Cone and/or MENSAH CONE, Defendant in the Superior

      Court of New Jersey Bergen County alleging unpaid maintenance fees and other

      related charges on behalf of plaintiff, Bristol House Condominium Association

      and/or BRISTOL HOUSE CONDOMINIUM ASSOCIATION, Plaintiff and/or .

      BRISTOL HOUSE CONDOM INIUM, Plaintiff the aforementioned collectively

      hereinafter the "Plaintiff'. 2

2.    On June     28, 2020     Mensah Cone regarding MENSAH CONE, filed an Answer, a

      Counterclaim       against      BRISTOL       HOUSE    CONDOMINIUM             ASSOCIATION,

      BRISTOL HOUSE CONDOMINIUM ASSOCIATION BOARD OF DIRECTOR(s):                                   1 -

      10,   RCP MANAGEMENT INC., KRISTINA MUNSON, MARY FAITH NEUGIEL, and

      a Third-party Complaint against EMILIO SANTIAGO, LLC, EMILIO SANTIAGO,

      TOWNSEND, TO MAIO & NEWMARK, LLC, LAURIE NEWMARK, VALERIA CONE

3. On September 4,            2020    the Counterclaim Defendant(s) filed an Answer to the

      Counterclaim without serving the Defendant.3

4. The Court issued an Order dismissing the Counterclaim without prejudice on April

      16, 2021.




2
  Purported Service of Process on the Defendant was to the Defendant's prior address of 6-years prior to
May 22, 2020. The Defendant did not return to 14 Claremont Avenue in over 6 years. The Court favored
the Plaintiff in motion to Dismiss Complaint.

3
                                                I
 Pursuant N.J. Ct. R. 4:6-1. When Presented.! A party served with a pleading stating a counterclaim or
cross claim against that party shall serve an answer thereto within 35 days after the service upon that
party.
The Counterclaim Defendant did not provide certification of service or serve the Counterclaimant the
Answer within the time frame required by the Rules of Court.

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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
 Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 6 of 21 PageID #: 6
          BER-L-002779-20 07/25/202111:19:47 PM Pg 6 of21 Trans ID: LCV20211739126




                 Removal Pursuant Title 28 U.S. Code(s) § 1441, § 1446
5. Pursuant Title 28 U.S. Code(s) § 1441, § 1446 the Defendant removes Docket No.

    BER-L-002779 from the Superior Court of New Jersey Law Division Bergen County

    to the United States District Court for the Eastern District of Missouri.

         *318 "Removal of cases from State courts into courts of the United States has
         been an acknowledged mode of protecting rights ever since the foundation of the
         government." (VIRGINIA v. RNES. Supreme Court of United States)

6. Counterclaim Defendant(s) accountable for their actions and those of their agents

    relative to this matter, shall be held to the standard under the Constitution and laws

    of the United States. See. Title 42 U.S. Code§ 1985. Conspiracy to interfere with civil

    rights, Title 28 U.S. Code § 1343 - Civil rights and elective franchise

         (a) The district courts shall have original jurisdiction of any civil action
             authorized by law to be commenced by any person: (3) To redress the
             deprivation, under color of any State law, statute, ordinance, regulation,
             custom or usage, of any right, privilege or immunity secured by the
             Constitution of the United States or by any Act of Congress providing for
             equal rights of citizens or of all persons within the jurisdiction of the United
             States; [Emphasis added]

7. Article 3 § 2 clause 1 of the U.S. Constitution, in pertinent, reads as follows,

               "Article III, § 2, of the Constitution states that "[t]he judicial Power shall
               extend to all Cases . . . affecting Ambassadors, other public Ministers and
               Consuls;-to all Cases of admiralty and maritime Jurisdiction;-to
               Controversies ... between a State, or the Citizens thereof, and foreign States,
               Citizens or Subjects." And § 1332 of the Judicial Code gives the courts
               jurisdiction over all civil actions between citizens of a State and foreign
               states or citizens or subjects thereof." BANCO NACIONAL DE CUBA v.
               SABBATINO, RECEIVER, ET AL. No. 16. 376 U.S. 398 Supreme Court of
               United States (1964) [Emphasis added]

                                            Jurisdiction

8. "Jurisdiction can be challenged at any time." Basso v. Utah Power & Light Co., 495 F

    2nd 906 at 910 The Defendant/Counterclaimant/Third-party Plaintiff asserts,

    Pursuant15 USC 1692c § 805. (a) Communication with the consumer generally,

                                                 6
Certified Mail # xxxx xxxx xxxx xxxx 2xx8
    Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 7 of 21 PageID #: 7
          BER-L-002779-20 07/25/202111:19:47 PM Pg 7 of21 Trans ID: LCV20211739126




      challenges the competent jurisdiction of hearings relative to Docket Number BER-L-

      002779-20 sitting Judge Michael Beukas4.

9. "Where there is an absence of proof of jurisdiction, all administrative and judicial

      proceedings are a nullity and confer no right, offer no protection, and afford no

      justification, and may be rejected upon direct collateral attack." Thompson v Tolmie,

      2 Pet. 157, 7 L. Ed. 381; and Griffith v. Frazier, 8 Cr. 9, 3 L. Ed. 471.

10.      "The rights and liberties of the citizens of the United States are not protected by

      custom and tradition alone, they are preserved from the encroachments of

      government by express/ enumerated provisions of the Federal Constitution." Reid v.

      Covert, 354 U.S. 1, 1 L. Ed. 2nd. 1148 (1957). The Defendant asserts instances of

      violation of Due Process Rights, and Equal Protection of the Law;

11. The    Defendant challenges the territorial jurisdiction of the Superior Court of New

      Jersey relative to subject property 277 Prospect Avenue Unit 18-B, Block 343 Lot 10

      Hackensack, New Jersey, infra.

                                       Constitutional Provisions

                                            Fourteenth Amendment

JUSTICE WHITE delivered the opinion to the Court, in pertinent part stating,

         "The Fourteenth Amendment of the Constitution provides in part:

         No State shall make or enforce any law which shall abridge the privileges or
         immunities of citizens of the 924*924 United States; nor shall any State deprive
         any person of life, liberty, or property, without due process of law; nor deny to
         any person within its jurisdiction the equal protection of the laws.

         Because the Amendment is directed at the States, it can be violated only by
         conduct that may be fairly characterized as "state action".


4
 The Counterclaimant asserts violation of the Rules of the Court relative to Due Process, FRE Rule 605 -
Judge's Competency as a Witness, Equal Protection of the Law, etc.

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Certified Mail # xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 8 of 21 PageID #: 8
          BER-L-002779-20 07/25/202111:19:47 PM Pg 8 of21 Trans ID: LCV20211739126




         Title 42 U. S. C. § 1983 provides a remedy for deprivations of rights secured by
         the Constitution and laws of the United States when that deprivation takes place
         "under color of any statute, ordinance, regulation, custom, or usage, of any State
         or Territory .... " LUGAR v. EDMONDSON OIL CO., INC., ET AL. No. 80-1730
         Supreme Court of United States (1982)

12. The Defendant asserts that Judge Michael Beukas of the Superior Court of New

    Jersey Bergen County violated the Defendant's, without limitation, Fifth and

    Fourteenth Amendment(s) constitutional provisions of Due Process Equal

    Protection of the Laws; the caption of the Notice of Docketing, infra, is neither the

    caption of the SUMMONS nor that of the COMPLAINT; Counterclaimant's Request

    for Entry for Default Entry based on the delinquent Answer to the Counterclaim,

    · having not been served on the Counterclaimant within the time required by the

    Rules of Court, was dishonored by the Court; infra.

13. The Complaint, possesses no seal of the Court.

14. The Defendant's property interest was liened by the                                   BRISTOL HOUSE

    CONDOMINIUM ASSOCIATION hereinafter "BHCA" contrary to the Fifth and

    Fourteenth Amendment(s) of Due Process, and laws and statutes of the State,. 6

    NoR Exhibit-1

         *933 "In each of these cases state agents aided the creditor in securing the
         disputed property; but in each case the federal issue arose· in litigation between
         creditor and debtor in the state courts and no state official was named as a party.
         Nevertheless, in each case the Court entertained and adjudicated the defendant-
5
  *934 "If the creditor-plaintiff violates the debtor-defendant's due process rights by seizing his property in
accordance with statutory procedures, there is little or no reason to deny to the latter a cause of action under the
federal statute, § 1983, designed to provide judicial redress for just such constitutional violations." LUGAR v.
EDMONDSON OIL CO., INC., ET AL. No. 80-1730 Supreme Court of United States (1982)

6
 *933 "Beginning with Sniadach v. Family Finance Corp., 395 U.S. 337 {1969), the Court has consistently
held that constitutional requirements of due process apply to garnishment and prejudgment attachment
procedures whenever officers 933*933 of the State act jointly with a creditor in securing the property in
dispute." LUGAR v. EDMONDSON OIL CO., INC., ET AL. No. 80-1730 Supreme Court of United States
{1982)


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Certified Mail # xxxx xxxx xxxx xxxx 2xx8
    Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 9 of 21 PageID #: 9
           BER-L-002779-20 07/25/2021 ll:19:47PM Pg9of21 TransID:LCV20211739126




          debtor's claim that the procedure under which the private creditor secured the
          disputed property violated federal constitutional standards of due process."
          LUGAR v. EDMONDSON OIL CO., INC., ET AL. No. 80-1730 Supreme Court of
          United States (1982)

15. In fact, the alleged Plaintiff has produced no evidence of return. receipt of any

      communications pursuant to dispute resolution required by the N.J. Condominium

      Act as set forth in the Defendant/Counterclaimant's opposition papers.7

                                            Federal Question(s)

16. The Counterclaimant asserts violation of the FDCPA, Fourteenth Amendment Due

      Process clauses and Equal Protection of the Law by the Court and the Plaintiff

      and/or agents, infra. 8

17. The actions by the State, Plaintiff and Counterclaimants during litigation constitute

      breaches of Constitutional provisions and laws of the United States, infra; Title 28

      U.S. Code § 1331 - Federal question.

                             Laws and Statutes of the United States

18. The Defendant/Counterclaimant/Third-party Plaintiff asserts 18 U.S. Code § 1341 -

      Frauds and swindles and 18 U.S.C. 1343- Elements of wire fraud against the

      Plaintiff, BHCA, Counterclaim Defendants and Third-party Defendants.
7
 N.J. Stat. § 46:8B-14 (k)An association shall provide a fair and efficient procedure for the resolution of
housing-related disputes between individual unit owners and the association, and between unit owners,
which shall be readily available as an alternative to litigation. A person other than an officer of the
association, a member of the governing board or a unit owner involved in the dispute shall be made
available to resolve the dispute. A unit owner may notify the Commissioner of Community Affairs if an
association does not comply with this subsection. The commissioner shall have the power to order the
association to provide a fair and efficient procedure for the resolution of disputes.

8
    The Debt Collector commenced litigation (1) contrary to Due Process and (2) Pursuant Title 15 USC
1692c § 805. Communication in connection with debt collection, the debt collector communicated with
the consumer without the prior consent of the consumer given directly to the debt collector or the
express permission of a court of competent jurisdiction, a debt collector may not communicate with a
consumer in connection with the collection of any debt --


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Certified Mail # xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 10 of 21 PageID #: 10
         BER-L-002779-20 07/25/202111:19:47 PM Pg 10 of21 Trans ID: LCV20211739126




                                           Complete Diversity

19. Federal Court is the appropriate forum for the disposition of this dispute. Moreover,

    the United States District Court for the Eastern District of Missouri is the

    appropriate venue, as the Defendant/Counterclaimant/Third-party Plaintiff resides

    near the district; Title 28 U.S. Code § 1332 - Diversity of citizenship; amount in

    controversy; costs . The amount in controversy exceeds $75,000.

                                     GROUNDS FOR REMOVAL
                      Subjects of any Foreign State, Titles of Nobility

20. The 11th Amendment of the U.S. Constitution, in pertinent part, reads as follows,

        The Judicial power of the United States shall not be construed to extend to any
        suit in law or equity, commenced or prosecuted against one of the United States
        by Citizens of another State, or by Citizens or Subjects of any Foreign State.

21. Article 1 § 9 clause 8 of the U.S. Constitution, in pertinent, reads as follows,

        No Title of Nobility shall be granted by the United States: And no Person holding
        any Office of Profit or Trust under them, shall, without the Consent of the
        Congress, accept of any present, Emolument, Office, or Title, of any kind
        whatever, from any King, Prince, or foreign State.

22.Article 1 § 10 clause 1 of the U.S. Constitution, in pertinent, reads as follows,

        No State shall enter into any Treaty, Alliance, or Confederation; grant Letters of
        Marque and Reprisal; coin Money; emit Bills of Credit; make any Thing but gold
        and silver Coin a Tender in Payment of Debts; pass any Bill of Attainder, ex post
        facto Law, or Law impairing the Obligation of Contracts, or grant any Title of
        Nobility.

23. Esquire is a title of nobility. Laurie Rollins of BFC admits to having the title of

    Esqui,re, and pursuant to the          11th   Amendment has no authority to sue the alleged

    defendant, Mensah Cone and/ or MENSAH CONE, Defendant.

24. Esquire is a title of nobility. Laurie Rollins of BFC admits to having the title of

    Esquire, and is therefore of a foreign State.


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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 11 of 21 PageID #: 11
         BER-L-002779-20 07/25/2021 11 :19:47 PM Pg 11 of 21 Trans ID: LCV20211739126




25. Laurie Rollins did not produce a power of attorney, authorizing representation of

    BRISTOL HOUSE CONDOMINIUM ASSOCIATION or Bristol House Condominium

    Association, relative to this matter.

                               Territorial Jurisdictional Challenge

26. Pursuant to Article 1 § 8 clause 17 of the Constitution, 277 Prospect Avenue, Unit 18-

    B, Block 343 Lot 10 Hackensack, New Jersey is neither in the state of New Jersey nor

    in the State of New Jersey.

27. The Superior Court of New Jersey lacks jurisdiction of the aforementioned property.

    The aforementioned property is not subject to 18 U.S. Code § 7 - Special maritime

    and territorial jurisdiction of the United States;

28. Pursuant to Article 1 § 8 clause 3 of the Constitution, Mensah Cone is not engaged

    with Commerce with foreign Nations, and among the several States, and with the

    Indian Tribes;

29. Pursuant to Article 1 § 8 clause 14 of the Constitution, 277 Prospect Avenue, Unit 18-

    B, Block 343 Lot 10 Hackensack, New Jersey is not regulated by Congress.

                                            Service of Process

30.Primafacie the declaration under penalty of perjury is false, as the AFFIDAVIT OF

    SERVICE states "[x] Delivered a copy to him/her personally".

31. Mensah Cone regarding MENSAH CONE is neither "SEX: F" nor Height 5 '4- 5' 8

    inches nor WEIGHT: 100-130LBS;

32.In fact, Mensah Cone had not returned to 14 Claremont Avenue, Livingston, New

    Jersey since 2014, upon filing for divorce.9


9
 "This court now holds, that, by reason of the absence of a personal service of *737 the summons on
the defendant, the Circuit Court of Oregon had no jurisdiction, its judgment could not authorize the sale

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Certified Mail # xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 12 of 21 PageID #: 12
         BER-L-002779-20 07/25/202111:19:47 PM Pg 12 of21 Trans ID: LCV20211739126




33. The AFFIDAVIT OF SERVICE was not served on Mensah Cone regarding MENSAH

    CONE from DAVID TORRESS on May 22, 2020. Exhibit NoR-3

34. On or about June 8, 2020 Laurie Rollins of BFC conveyed through wire

    communications SUMMONS and Complaint. NoR Exhibit-2

35. The SUMMONS does not possess a seal of the Court. The Defendant asserts violation

    of the Laws and Statutes of the United State, supra. Alleged violation pursuant Title

    is U.S. Code 1692e § 807; the Defendant asserts, WHEREAS on May 12, 2020
    neither BFC nor the Debt Collectors nor agents possess bond and/ or did not produce

    bond relative to this debt collection matter.

36.Pursuant NJ Rev Stat§ 45:18-1 (2013); Collection agencies to file bond WHEREAS

    on May 12, 2020 the Defendant asserts neither the Plaintiff nor Debt Collectors, nor

    BFC, nor agents possess bond and/ or did not produce bond relative to this debt

    collection matter.

             *941 "As is clear from the discussion in Part II, we have consistently held that
             a private party's joint participation with state officials in the seizure of
             disputed property is sufficient to characterize that party as a "state actor" for
             purposes of the Fourteenth Amendment. The rule in these cases is the same as
             that articulated in Adickes v. S. H. Kress & Co., supra, at 152, in the context of
             an equal protection deprivation:

             'Private persons, jointly engaged with state officials in the prohibited action,
             are acting "under color" of law for purposes of the statute. To act "under
             color" of law does not require that the accused be an officer of the State. It is
             enough that he is a willful participant in joint activity with the State or its
             agents,' " quoting United States v. Price, 383 U. S., at 794." LUGAR v.
             EDMONDSON OIL CO., INC., ET AL. No. 80-1730 Supreme Court of United
             States (1982)



of land in said county, and, as a necessary result, a purchaser of land under it obtained no title; that, as
to the former owner, it is a case of depriving a person of his property without due process of law." 95
U.S. 714 (__) PEN NOYER v.NEFF Supreme Court of United States. Appearance was under duress.


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Certified Mail # xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 13 of 21 PageID #: 13
          BER-L-002779-20 07/25/202111:19:47 PM Pg 13 of21 Trans ID: LCV20211739126




37. The plaintiff, Bristol House Condominium Association is not BRISTOL HOUSE

     CONDOMINUM ASSOCIATION, Plaintiff. See SUMMONS and COMPLAINT

38.BRISTOL HOUSE                  CONDOM INIUM,                  Plaintiff is not BRISTOL HOUSE

     CONDOMINUM ASSOCIATION, Plaintiff. See SUMMONS and COMPLAINT,

     Notice of Tracking;

39. The defendant, Mensah Cone is not MENSAH CONE, Defendant. See SUMMONS

     and COMPLAINT;

                      The Fourteenth Amendment of the Constitution

40. On or about June 11, 2020 the "private party's joint participation with state officials";

     Pursuant the New Jersey "Condominium Act" New Jersey Statutes Annotated

     (N.J.S.A.), Section 46:8B-1, et seq., Plaintiff, Laurie Rollins of BFC, BHCA, Carl

     Monheit 10 in alleged participation with the State officials, recorded Lien Claim

     against 277 Prospect Avenue, Unit 18-B, Block 343 Lot                      10,   Hackensack New Jersey

     07061, without providing notice to Mensah Cone. See Title 28 U.S. Code § 1343 -

     Civil rights and elective franchise (a)(3) and *933, 941 LUGAR v. EDMONDSON OIL

     CO., INC., ET AL. No. 80-1730 Supreme Court of United States (1982), supra.

41. Pursuant N.J. Stat. § 46:8B-14 (k) neither the Plaintiff, nor BFC nor BHCA nor

     agents provided a fair and efficient procedure for the resolution of housing-related

     disputes between individual unit owners and the association, as an alternative to

     litigation.
10
  *566 "Similarly, a principal is liable for an agent's misrepresentations that cause pecuniary loss to a third party,
when the agent acts within the scope of his apparent authority. Restatement (Second) of Agency §§ 249, 262
(1957) (Restatement); see Rutherford v. Rideout Bank, 11 Cal. 2d 479, 80 P. 2d 978 (1938). Also, if an agent is guilty
of defamation, the principal is liable so long as the agent was apparently authorized to make the defamatory
statement. Restatement §§ 247, 254. Finally, a principal is responsible if an agent acting with apparent authority
tortiously injures the business relations of a third person. Id., § 248 and Comment b, p. 548." AMERICAN SOCIETY
OF MECHANICAL ENGINEERS, INC. v. HYDROLEVEL CORP. No. 80-1765. 456 U.S. 556 (1982) 1982.



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Certified' Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 14 of 21 PageID #: 14
         BER-L-002779-20 07/25/202111:19:47 PM Pg 14 of21 Trans ID: LCV20211739126




42.Pursuant N.J. Stat. § 46:SB-2111 Liens in favor of association; priority; neither the

     Plaintiff, nor BFC nor BHCA nor agents gave notice to the Unit owner of the

     referenced lien, supra.

43.BHCA did not provide the Unit owner with an authentic copy of the Master Deed or

     By-Laws prior to or during purchase and/or settlement of the Unit. 12

44. The Track Assignment Notice caption reads as follows; BRISTOL HOUSE CONDOM

     INIUM VS CONE MENSAH 13. N oR Exhibit-4

45. eCourts notice rescheduling motion filed on 10/16/2020 to 01/22/2021 case caption

     reads as follows; BRISTOL HOUSE CONDOMINIUM VS CONE MENSAH 14.

46. The Counterclaim Defendant's Answer was filed ·with the Court on or about

     September 4, 2020, exceeding the time provisions for Answer according to the Rules

     of the Court.

47. The Counterclaim Defendant's Answer was not served via regular mail or certified

     mail on the        on the Defendant/Counterclaimant according to the Rules of the

     Court.is


11
 N.J. Stat. § 46:88-21 a. The association shall have a lien on each unit for any unpaid assessment duly
made by the association for a share of common expenses or otherwise, including any other moneys duly
owed the association, upon proper notice to the appropriate unit owner, together with interest thereon
and, if authorized by the master deed or bylaws, late fees, fines and reasonable attorney's fees;

12
  See copy of Master Deed and By-Laws provided by BFC used in Notice of Motion for Summary
Judgment, CERTIFICATION OF LAURIE A. ROLLINS, Exhibits A and B filed on or about October 16, 2020.

13
  The Caption on the SUMMONS and the COMPLAINT reads as follows; BRISTOL HOUSE CONDOMINIUM
ASSOCIATION, Plaintiff vs. MENSAH CONE, Defendant.

14
   The caption ofthe SUMMONS and COMPLAINT reads, BRISTOL HOUSE CONDOMINIUM ASSOCIATION,
Plaintiff vs. MENSAH CONE, Defendant. See. Federal Rules of Civil Procedure 17. (a) Real Party in Interest.
15
   Counterclaim Defendant's ANSWER TO COUNTERCLAIM, SEPARATE DEFENSES, CROSSCLAIMS, JURY
DEMAND AND CERTIFICATIONS possesses neither Certification of Service nor proof of Service.



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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 15 of 21 PageID #: 15
          BER-L-002779-20 07/25/202111:19:47 PM Pg 15 of21 Trans ID: LCV20211739126




48. The Counterclaim Defendant's Answer was served on the Counterclaimant on or

     about October 15, 2020 with the Counterclaim Defendant's demands for

     Interrogatories and Notice to Produce Documents. 16

49. The Comt dishonored the Counterclaimant's application for Eritry for Default

     against the Counterclaim Defendant(s). The Counterclaimant asserts breach of the

     Fourteenth Amendment Equal Protection of the Law by the Court.

so.Notice of Motion to Dismiss the Counterclaim was filed on or about February 5, 2021,

     reads as follows;

         "PLEASE TAKE FURTHER NOTICE that in accordance with R. 1:6- 2(a), the
         discovery end date in this matter is September 21, 2021;" [Emphasis added]

51. Pursuant N.J. Ct. R 6:3-3(1) Subject to R. 1:6-2(d), the clerk did not notify the

     Counterclaimant by mail of the time and place of the hearing. 17 Dismissing -

     Unopposed. The Counterclaimant asserts violation of the Fourteenth Amendment

     Due Process violation - Right to be Heard.

                                Continuance(s) and Rescheduling

52. The Defendant asserts prejudice by the Third-party Defendant and the Court's

     postponing of hearings, up to seven 7-times, within one year delaying the disposition

     of the matter.




15
 Answer is deficient certification of service and/or Proof of Service in the original copy filed
September 4, 2020 with the Court.

17
  Pursuant N.J. Ct. R 6:3-3(1} Subject to R. 1:6-2(d} to-date, the Defendant/Counterclaimant/Third-party
Plaintiff has not received mail of the time and place of hearing from the Court.


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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 16 of 21 PageID #: 16
           BER-L-002779-20 07/25/202111:19:47 PM Pg 16 of21 Trans ID: LCV20211739126




                  State and Appellate Court Hostility and Bias against
                 the Defendant/Counterclaimant/Third-party Plaintiff

53. The Defendant invokes the 5th and 14th Amendment(s) Constitutional provisions and

       Title 28 U.S. Code § 455 - Disqualification of justice, judge, or magistrate judge18 in

       furtherance for removal of the case Docket Number BER-L-002779-20 from the

       Superior Court of New Jersey Law Division, Bergen County to the United States

       District Court for the Eastern District of Missouri;

54. On September 2, 2015 Judge Michael Casale, in pertinent part, stated,

                  "I do agree with you, that plaintiff has been delaying this case. However,
                  he is within his rights to change counsel in accordance with Rule 5:3-5(d)."
                  NoR Exhibit-5

55. Still pending Order to Show Cause filed by the Plaintiff against the Law Firm was

       entered by the Court on July 17, 2020; NoR Exhibit-6

56. On January 28, 2021 Civil Division Judge Russell Passamano sat and decided

       Chancery Division Family Part matter, signed and filed ORDER ENTERING

      ATTORNEY'S LIEN AGAINST MENSAH CONE IN FAVOR OF TOWNSEND,

       TOMAIO & NEWMARK, LLC Trial Court Docket Number FM-07-2157-14E. 1 9

       [Emphasis added] NoRExhibit-8, NoRExhibit-7, NoRExhibit 11

57. Respondent, Gregory Pasler of Townsend Tomaio & Newmark, LLC, remains in

       defiance to correct the Docket Number in the Respondent's Case Information

       Statement; N oR Exhibit-9


18
  (a)Any justice, judge, or magistrate judge of the United States shall disqualify himself in any
proceeding in which his impartiality might reasonably be questioned. (b)He shall also disqualify himself
in the following circumstances: (l)Where he has a personal bias or prejudice concerning a party, or
personal knowledge of disputed evidentiary facts concerning the proceeding;

19
     To the Defendant's knowledge, no Complaint or Court record exist for Docket Number; FM-07-2157-
14E

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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 17 of 21 PageID #: 17
          BER-L-002779-20 07/25/202111:19:47 PM Pg 17 of21 Trans ID: LCV20211739126




58.Counsel for the Plaintiff, Gregory Pasler of Townsend, Tomaio & Newmark, LLC

     providing testimony in open court against Mensah Cone regarding MENSAH CONE,

     Plaintiff; N oR Exhibit-10

59. The Court's dishonor of MENSAH CONE, Plaintiffs presentment for court fees

     relative to the cross-motion and third-party complaint filed on or about May 15,

     2020;

60. The Court's denial of MENSAH CONE, Plaintiffs calling witnesses on his behalf for

     plenary hearing held January 13, 2021;

61. The Defendant/Counterclaimant/Third-party Plaintiff asserts violation of Equal

     Protection of the Law; denial of application of Entry for Default against the

     Counterclaim Defendants and the Third-party Defendants;

62. On September 17, 2019 during testimony break, Mensah Cone regarding MENSAH

     CONE, Plaintiff, WHEREBY Bar attorneys made threating statements referring to

     the Plaintiff; Scott Diener repeatedly said "fuck his ass up", at which Mr. Geist

     repeatedly replied "I wil1" 20 •

                                              Harassment

63.Four (4) Orders were issued by the Superior Court of New Jersey Appellate Division

     for DOCKET NO. A-001858-20 T1. 21

                                       No Parity (Fed. R. Civ. P. 17)

64.No parity exists between the plaintiff, Bristol House Condominium Association the

     artificial entity and the defendant, Mensah Cone, a private man. See SUMMONS.

20
  This was reported to the Court in May 15, 2020 Answer to the Petitioner's Order to Show Cause filed on
February 25, 2020.

21
  Appellate Docket Number is A-001858-20 (Docket #s: (Appeal &/or Trial Court) A-001858-20). Note, the Appeal
was filed in the year 20~ not 2020.

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Certified Mail # xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 18 of 21 PageID #: 18
          BER-L-002779-20 07/25/202111:19:47 PM Pg 18 of21 Trans ID: LCV20211739126




                                                  Conclusion

65.Pursuant Title 28 U.S. Code             §   1331 - Federal question; removal based on Federal

      question relative to the trial case is within jurisdiction of the United States District

      Court of the Eastern District of Missouri.

66.Pursuant Title 28 U.S. Code § 1332 - Diversity of Citizenship; removal based on

      Diversity of Citizenship the trial case is within jurisdiction of the United States

      District Court of the Eastern District of Missouri for this case.

67. Pursuant Title 28 U.S. Code § 1332 - Diversity of Citizenship; removal based on

      amount in controversy relative to the trial case is within jurisdiction of the United

      States District Court of the Eastern District of Missouri.

68.Pursuant Title 28 U.S. Code § 1441 - Removal of civil actions (b)Removal Based on

      Diversity of Citizenship - the trial case is within jurisdiction of the United States

      District Court for the Eastern District of Missouri.

69.Pursuant Title 28 U.S. Code § 1441 - Removal of civil actions (c)Joinder of Federal

      Law Claims and State Law Claims - the Trial Case(s) is within jurisdiction of the

      United States District Court for the Eastern District of Missouri.

70. This United States District Court for the Eastern District of Missouri jurisdiction

      extends to "all [non-federal] claims that are so related to claims in the action within

      [the Court's] original jurisdiction that they form part of the same case or controversy

      under Article III of the United States Constitution 2 2 •

71. Constitutional provisions, Diversity, Federal Question, original and supplemental

      jurisdiction warrant removal of this case to the United States District Court for the

      Eastern District of Missouri.

22
     Cone v. Townsend, Tomaio, & Newmark, LLC et al 4:21-cv-00524-JCH

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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 19 of 21 PageID #: 19
         BER-L-002779-20 07/25/202111:19:47 PM Pg 19 of21 Trans ID: LCV20211739126




72. WHEREFORE, the Defendant/Counterclaimant/Third-party Plaintiff removes this

    action BER-L-002779-20, previously commenced in the Superior Court of New

    Jersey Law Division, Bergen County to the United States District Court Eastern

    District of Missouri.




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Certified Mail# xxxx xxxx xxxx xxxx 2xx8
Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 20 of 21 PageID #: 20
          BER-L-002779-20 07/25/202111:19:47 PM Pg 20 of21 Trans ID: LCV20211739126




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    Case: 4:21-cv-00982-RLW Doc. #: 1 Filed: 08/06/21 Page: 21 of 21 PageID #: 21
             BER-L-002779-20 07/25/202111:19:47 PM Pg 21 of21 Trans ID: LCV20211739126




            Pursuant Title 28 U.S. Code § 1746 - Unsworn declarations under penalty of per-
    jury; I declare (or certify, verify, or state) under penalty of perjury under the laws of the
    United States of America that the foregoing is true and correct.


                                               Signed by:

                                                /s/Mensah Cone regarding MENSAH CONE
                                               Without prejudice. All Rights Reserved.
                                               Mensah Cone
                                               1720 Market Street 775122
                                               St. Louis, MO [63177]
                                               201-281-6791
                                               mensah c@yahoo.com


    Date: 07/25/2021




                                                 21
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